Exhibit

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USDA Farm Lawrence County Farm Service Agency
A United States Production Farm 237 Waterloo Street
2a Depariment of and Service Lawrenceburg, TN 38464

Agriculture Conservation Agency Voice: (931) 762-6913 Fax: (855) 494-6731

February 6, 2024

Corey Lea
3430 Magruder Dr.
Murfreesboro, TN 37129

Dear Mr. Lea:

This responds to your request for a Direct Farm Ownership Loan in the amount of
$600,000.00 and a Direct Operating Loan in the amount of $300,000 requested on your
application dated January 22, 2024. We are denying your request in accordance with Farm
Service Agency (FSA) regulations. This decision is based on the following factual
determination(s) and reason(s):

Per FSA regulation [7 CFR 764.101(d)] The applicant must have acceptable credit
history demonstrated by debt repayment.

Per FSA regulation [7 CFR 764.101(d)(1)] As part of the credit history the Agency will
determine whether the applicant will carry out the terms and conditions of the loan,
and deal with the Agency in good faith. In making this determination, the Agency may
examine whether the applicant has properly fulfilled its obligations to other parties,
including other agencies of the Federal Government.

Per FSA regulation [7 CFR 764.101(d)(2)] When the applicant caused the Agency a loss
by receiving debt forgiveness, the applicant may be ineligible for assistance in
accordance with eligibility requirements for the specific loan type. If the debt
forgiveness is cured by repayment of the Agency’s loss, the Agency may still consider
the debt forgiveness in determining the applicant’s creditworthiness.

Per FSA regulation [7 CFR 764.101(d)(3)] A history of failures to repay past debts as
they came due when the ability to repay was within the applicant’s control will
demonstrate unacceptable credit history.

Per FSA regulation [7 CFR 764.101(f)] As provided in 31 CFR Part 285, except for EM
loan applicants, the applicant and anyone who will sign the Promissory Note must not
be in delinquent status on any Federal debt, other than a debt under the Internal
Revenue Code of 1986 at the time of loan closing. All delinquent debts, however, will be
considered in determining credit history and ability to repay under this part.

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Per FSA regulation *--[7 CFR 764.152())] And anyone who will sign the promissory note,
must satisfy at--*least one of the following conditions:

(1) Meet the definition of a beginning farmer.

(2) Have not had a direct FO loan outstanding for more than a total of 10 years prior to
the date the new FO loan is closed.

Applicant is determined not eligible based on the applicant’s history with debt repayment,
delinquency, and Farm Ownership term limits with the Farm Service Agency. The
customers historical agency records show a loss on a Guaranteed Loan of $13,599.42 dated
01/20/2015 and a current delinquent amount of $10,908.00 on FSA Direct FO Joan 41-01
which was due 10/25/2023. The customers payment history was as a Co Borrower or entity
member for Corey Lea Inc. The payment history shows there were no loan payments made
by Mr. Lea or the entity on any of the outstanding FSA loans associated with Corey Lea Inc.
between the closing date of 10/25/2007 and current date. The only payments noted in the
loan repayment history was an administrative offset payment of $638.00 on 11/20/2009 and
The Inflation Reduction Act payments made on all the delinquent Direct loans 41-01, 44-02,
and 44-03 associated with Corey Lea Inc on 9/30/2022. Applicants guarantee loan status
report with Farmers National Bank also reflects the Guaranteed loan was in Default status
between the dates of 07/15/2008-01/14/2015. Mr. Lea signed the promissory note as both
the entity president and as an individual reflecting his knowledge of payment terms and due
dates on 10/27/2007. The applicants farm ownership loan term limits of 10 years have also
expired as the applicant received his first Direct FO loan in 2007.

It should be noted that FSA has not made formal determinations regarding any other loan
making criteria at this time other than eligibility.

If you believe that this decision is erroneous, you have the following options:

I. Reconsideration

You may request that I reconsider this determination by filing a written request no later than
30 calendar days after you receive this notice in accordance with FSA appeal procedures
found at 7 CFR Part 780. If you request reconsideration, you have the nght to an informal
hearing which you or your representative may attend either personally or by telephone. If
you choose to seek reconsideration, you may later appeal the determination to the National
Appeals Division (NAD). To request reconsideration, write to me at the following address
and explain why you believe this determination is erroneous.

Greg Wunner
237 Waterloo St.
Lawrenceburg, TN 38464

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Il. Mediation

Mediation is available as part of FSA’s informal appeal process. Mediation may enable us to
narrow the issues and resolve the matter by mutual agreement. You may have to pay all or
part of the cost of mediation. If you request mediation, the running of the time frame in
which you may file an appeal stops. When mediation closes, the clock restarts and you will
have the balance of the days remaining in that period to file an appeal. To request mediation,
you must submit your written request no later than 30 calendar days after you receive this
notice. To request mediation, write to the FSA State Executive Director at the following
address:

FSA State Executive Director
USDA/Farm Service Agency

Attention: Farm Loan Programs Section
579 U.S. Courthouse

801 Broadway

Nashville, Tennessee 37203

Fax: (855) 494-7763

UI. Appeal to the Department of Agriculture National Appeal Division (NAD)

You may appeal this determination to the National Appeals Division (NAD) by filing a
written request no later than 30 calendar days after you receive this notice according to the
NAD appeal procedures found at 7 CFR Part 11. If you appeal to NAD, you have the right
to a hearing that you or your representative may attend. Once a hearing with NAD begins,
you waive any rights you might have to reconsideration, appeal to FSA, and mediation. To
appeal, you must write to NAD at the following address, or on the NAD website at
www.nad.usda.gov, explain why you believe this determination is erroneous, and provide a
copy to FSA. You must personally sign your written appeal to NAD and include a copy of
this letter.

USDA, NAD

Southern Regional Office
Post Office Box 1508
Cordova, Tennessee 38088-15

Send a copy of your request and attachments to me at the following address:
Greg Wunner

237 Waterloo St.

Lawrenceburg, TN 38464

If you do not timely exercise one of the preceding options, this shall be the final

administrative determination with respect to this matter according to the regulations at 7 CFR
Part 780 and 7 CFR Part 11.

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The Federal Equal Credit Opportunity Act prohibits creditors from discriminating against
credit applicants on the basis of race, color, religion, national origin, sex, marital status, age
(provided the applicant has the capacity to enter a binding contract); because all or part of the
applicant’s income derives from any public assistance program, or because the applicant has
in good faith exercised any right under the Consumer Credit Protection Act. The Federal
agency that administers compliance with this law is the Federal Trade Commission, Equal
Credit Opportunity, Washington, D.C. 20580.

In accordance with Federal civil rights law and U.S. Department of Agriculture (USDA) civil
rights regulations and policies, the USDA, its Agencies, offices, and employees, and
institutions participating in or administering USDA programs are prohibited from
discriminating based on race, color, national origin, religion, sex, gender identity (including
gender expression), sexual orientation, disability, age, marital status, family/parental status,
income derived from a public assistance program, political beliefs, or reprisal or retaliation
for prior civil rights activity, in any program or activity conducted or funded by USDA (not
all bases apply to all programs). Remedies and complaint filing deadlines vary by program or
incident.

Persons with disabilities who require alternative means of communication for program
information (e.g., Braille, large print, audiotape, American Sign Language, etc.) should
contact the responsible Agency or USDA’s TARGET Center at (202) 720-2600 (voice and
TTY) or contact USDA through the Federal Relay Service at (800) 877-8339. Additionally,
program information may be made available in languages other than English.

To file a program discrimination complaint, complete the USDA Program Discrimination
Complaint Form, AD-3027, found online at

hitp://www.ascr.usda.gov/complaint_filing cust.html and at any USDA office or write a
letter addressed to USDA and provide in the letter all of the information requested in the
form. To request a copy of the complaint form, call (866) 632-9992. Submit your completed
form or letter to USDA by: (1) mail: U.S. Department of Agriculture, Office of the Assistant
Secretary for Civil Rights, 1400 Independence Avenue, SW, Washington, D.C. 20250-9410;
(2) fax: (202) 690-7442; or (3) email: program. intake(@usda.gov. USDA is an equal
opportunity provider, employer, and lender.

Sincerely,

ES lt——

Gregory S. Wunner
Farm Loan Manager

ce: Clint Bain, District Director
Scott Scudder, Farm Loan Specialist
Jan York, Farm Loan Officer

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